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                                              Exhibit O
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Ven-A-Care of the Florida Keys (John M. Lockwood, MD)                       June 19, 2009
                                             Alpharetta, GA

                                                                                   1
                             UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

          ---------------------------------X

          In re:      PHARMACEUTICAL INDUSTRY           )

          AVERAGE WHOLESALE PRICE                       ) MDL No. 1456

          LITIGATION                                    )

          ---------------------------------) Civil Action No.

          THIS DOCUMENT RELATES TO:                     ) 01-12257-PBS

          United States of America, ex rel.)

          Ven-A-Care of the Florida Keys,               ) Subcategory No.

          Inc., v. Boehringer Ingelheim                 ) 06-CV-11337-PBS

          Corporation, et al.,                          )

          CIVIL ACTION NO. 07-10248-PBS                 )

          ---------------------------------X

                                        DEPOSITION OF

                       VEN-A-CARE OF THE FLORIDA KEYS, INC.

                                by JOHN M. LOCKWOOD, M.D.

                                     The Breen Law Firm

                                5755 North Point Parkway

                                            Suite 260

                               Alpharetta, Georgia          30022

                                  Taken on June 19, 2009




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 1     contract price available.                              1   particular document on Roxane 225, which displayed
 2            And if there is no contract price, it           2   all the pricing information in the EconoLink
 3     defaults to the regular cost at McKesson in            3   database for Roxane drugs.
 4     calculating the spread. And so it explains to you      4       A. Yes. And this is exactly the kind of
 5     what number they're using for cost.                    5   thing that -- that you could do, the Department of
 6            And as I think previously testified the         6   Justice could do, and we did, yes, with this
 7     regular cost in EconoLink is a -- oh, a ball park      7   database, yes.
 8     approximation of what the wholesaler considers         8       Q. And you showed the Department of Justice
 9     their acquisition cost or sometimes referred to as     9   how to do this?
10     catalog price.                                        10       A. Oh, absolutely, yes. This is, I mean, I
11            I think Mr. Silko in the Texas                 11   think one of the critical things for us that --
12     deposition I was describing earlier described the     12   that you can do with EconoLink. And we did the
13     regular cost column in EconoLink as WAC. But if       13   same sorts of printouts in Texas using this
14     it's not WAC, it's certainly a very good -- it's      14   technique. And there are, I believe, in our
15     an approximation of such. And I think that's what     15   files, examples of that.
16     we used it as.                                        16       Q. Now, one of the things I noticed in all
17            McKesson -- he described it as                 17   of the databases that we had produced to us by
18     McKesson's WAC. I'm not -- I'm not -- which I         18   Ven-A-Care in this litigation was that there were
19     would differentiate from a reported WAC to Texas      19   no listings for the NovaPlus Ipratropium Bromide
20     or First DataBank or anyone else.                     20   product in the EconoLink database.
21          Q. Okay. And if you look to the last page        21           Does that sound right to you?
22     of Roxane Exhibit 224. At the very end there's a      22       A. It's either in there or not in there by

                                                        83                                                        85
 1     discussion again of that spread field. And I           1   NDC number.
 2     think that section is describing what you were         2       Q. But you have no specific recollection,
 3     saying a moment ago which was that the spread is       3   do you, of NovaPlus Ipratropium Bromide products
 4     calculated -- calculated as AWP minus either cost      4   being listed in the McKesson database?
 5     or the contract special price if one's available;      5       A. They're either in there or not. I -- I
 6     is that right?                                         6   don't recall them being there specifically, but I
 7         A. Yes.                                            7   didn't look for that drug in each database. So
 8         Q. Okay. Let's turn to the next document           8   there are 11 of them or potentially data from 12
 9     in your binder that's been premarked Roxane            9   data points when you reference the August 31, 2000
10     Exhibit 225. And I'll represent to you that this      10   data. But I don't recall specifically.
11     is a printout of the -- the October 23rd, 2000        11       Q. And do you recall whether you used any
12     database in the long form format of all of the        12   of the prices that were in the EconoLink databases
13     Roxane drugs.                                         13   as examples in any of Ven-A-Care's complaints?
14         A. Yes, uh-huh. I've looked at these.             14          MR. BREEN: I'm sorry, could you ask
15         Q. And you've had a chance to review this         15   that question again? Could you read it back,
16     and this seems to be a true and correct copy of       16   please.
17     that database?                                        17             (Whereupon, the requested portion
18         A. Yes.                                           18   of the record was read by the reporter.)
19         Q. Okay. And what I was able to do or what        19       A. Well, I'm -- if I'm recalling correctly,
20     our technical staff were able to do was run the       20   in our initial complaint I believe that we got
21     query up top as you'll see of all the Roxane NDCs,    21   prices from McKesson on Ipratropium with and
22     00054 onward, to be able to generate this             22   without the Servall contract. And the Servall


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 1     contract prices were, in essence, prices that          1   database.
 2     would then be in the EconoLink databases. So I         2       Q. Right.
 3     think -- whether we did that actually before. But      3       A. We didn't --
 4     they would be tied in. And to the extent that we       4       Q. Right.
 5     used those or continue to use those that would be,     5       A. -- change the fields in any way or
 6     I think, part of this, yes.                            6   activate or inactivate fields. We took it as it
 7     BY MR. GORTNER:                                        7   came to us and didn't change it or manipulate it
 8         Q. Now, looking at the first page of Roxane        8   in some way.
 9     Exhibit 225. This particular printout shows the        9          And I would have to look at the manual,
10     NDCs for one of the versions of Azathioprine.         10   but I'm assuming there is a -- and I think I've
11         A. Yes.                                           11   read it. I know I've read the profit percentage
12         Q. Do you see that?                               12   field and you can read the manual and it will
13            And again, on the field it has the             13   describe to you how to get that to come up and --
14     published AWP there listed?                           14   and if you're interested in that, then it will do
15         A. Yes.                                           15   that for you.
16         Q. And then it has a -- both a price and          16       Q. How about the spread field? I don't see
17     then a contract special price listing. Do you see     17   the spread field on any of these printouts.
18     those two fields?                                     18       A. That's correct. The spread field for
19         A. Yes.                                           19   whatever reason, as far as I could tell, only
20         Q. And we've already discussed these fields       20   comes up when you go through the process described
21     in prior testimony. So just to confirm that your      21   earlier that we talked about. And it comes up in
22     understanding is that the contract special price      22   that situation.

                                                        87                                                        89
 1    there, in this case it's $51.12, would refer to         1       Q. Okay.
 2    the Servall price for that product?                     2       A. And then it's also described in the
 3           And the price -- the regular price               3   manual about how to get there. But the spread
 4    listing of $59.91 would be the price, I guess,          4   field is not specifically part of either the long
 5    someone could purchase from McKesson who didn't         5   form or the short form printout. But if you can
 6    have a particular contract?                             6   add and subtract, you can effectively do it for
 7        A. Yes, that's my understanding.                    7   yourself.
 8        Q. Now, there's also a field that says              8       Q. That's what I was going to ask you about
 9    profit on the right-hand lower column.                  9   next. If you turn to the next exhibit which is
10           Do you see that?                                10   Roxane Exhibit 226. This is a printout from that
11        A. Yes.                                            11   same October 23rd, 2000 database for just the
12        Q. And that has an entry of zero. Do you           12   Roxane specific drugs?
13    know why that would print as a zero?                   13       A. Yes.
14        A. Well, I think I talked about this in one        14       Q. And you recognize this document?
15    of my earlier depositions. EconoLink is a              15       A. Oh, I'm sorry, the next -- yes, this is
16    management program. It's not just a pricing            16   what is generally termed the short form printout.
17    program. So that you can use it to order drugs,        17   And it is probably the one that we used more
18    analyze your business, and do a variety of things.     18   frequently because it puts all of the -- when
19    Not just pricing.                                      19   asking for that range, essentially, all of the
20           And many of those things are then,              20   Roxane labeler codes, it puts them all on, what is
21    obviously, described in the manual how to do those     21   it, about four pages normally.
22    things. We did not enter data into the EconoLink       22       Q. Right.


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 1        Q. And then looking now at the next page of         1       A. Well, all the drugs at least that are
 2     Roxane 226 at the top for -- for Oramorph              2   listed here. I don't know if that's all the drugs
 3     products. There are spreads of about 100 percent       3   that Roxane produces. But all of these drugs
 4     for those NDCs at the top.                             4   listed here you could easily analyze that, yes.
 5            Do you see that?                                5       Q. And about how long do you think it would
 6        A. Okay, yes.                                       6   take to print out -- to print out the short form?
 7        Q. And then there are some additional               7   And what I mean by that is to actually enter the
 8     spreads for Furosemide being illustrated in Roxane     8   search for the Roxane NDCs and print something
 9     226 of approximately a thousand percent again?         9   like Roxane 226.
10        A. Yes.                                            10       A. Well, this program prints a little slow,
11        Q. And then there are several Ipratropium          11   but mere minutes. I -- five minutes or less. I -
12     Bromide --                                            12   - not very long. I wouldn't represent it takes
13        A. Yes.                                            13   very long to do that.
14        Q. -- products?                                    14       Q. Let's jump ahead to -- just for a moment
15        A. Yes.                                            15   --
16        Q. And the spreads there seem to be about          16          MR. GORTNER: Jim, what I would like to
17     300 percent?                                          17   be able to do is go ahead and mark all the
18            Do you see that?                               18   printouts that I have as exhibits at the end of
19        A. Yeah, there's some variation in them,           19   the deposition based upon our -- the stipulation
20     but yes.                                              20   we had earlier in terms of the authenticity with
21        Q. And this is all -- again, when I say            21   the caveats you mentioned. And that way I can,
22     spread, this is according to the calculations that    22   hopefully, avoid having to trot through a lot of
                                                        95                                                       97
 1    have been made by Plaintiffs in this case?              1   these exhibits which frankly would lead me to ask
 2        A. Yes. Okay.                                       2   very similar questions, so --
 3        Q. And I will make the note for the record          3          MR. BREEN: That's fine. I'm just
 4    that for one of the Ipratropium Bromide NDCs,           4   thinking, the binder we got here, the binders are
 5    which is the 000548402-11 NDC.                          5   about 3 inches and -- that, Eric, you put together
 6        A. Okay.                                            6   before the deposition.
 7        Q. There's an AWP that is listed as $18.44.         7          The -- most of the pages are made up of
 8    And I think we talked about this earlier. That          8   these long form and short form printouts from the
 9    appears to be at least an early error in the            9   EconoLink database. They're all tabbed by date of
10    database. I believe the published AWP was $44.06       10   the -- I assume the date of the database that you
11    for that product?                                      11   pulled the document from.
12        A. Yes. And we -- we produced the data as          12          MR. GORTNER: That's correct.
13    it came to us, and I don't have an answer for why      13          MR. BREEN: Have we marked the entire
14    that particular First DataBank update was              14   binder as an exhibit? Have you -- did you do
15    incorrect.                                             15   that?
16        Q. And so this was the type of data that           16          MR. GORTNER: No. But we certainly
17    you provided to the federal government in January      17   could consider doing that.
18    2001, right?                                           18          MR. BREEN: That would be my suggestion.
19        A. Yes, sir.                                       19   I think it's pretty well self-explanatory the way
20        Q. And from that EconoLink database one            20   you've got it broken down unless the witness has a
21    could determine the spreads on all of the Roxane       21   --
22    drugs as of January 1, 2001?                           22          THE WITNESS: The only thing I would say


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